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   EXHIBIT A
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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

 ROBERT STRANGE,                                §
                                                §
       Plaintiff,                               §
                                                §
 v.                                             §          Civil Action No. 4:23-cv-00796
                                                §
 U.S. BANK TRUST COMPANY, N.A.,                 §
                                                §
       Defendant.                               §
                                                §



                            AMENDED SCHEDULING ORDER


1.    The parties shall file amended or supplemental pleadings and shall join additional parties by:
      May 13, 2024

2.    All parties asserting claims for relief must name their experts and furnish a report by:
      June 3, 2024

3.    The opposing party’s experts must be named with a report furnished by: July 8, 2024

4.    Discovery must be completed by: August 2, 2024
      Counsel may agree to continue discovery beyond the deadline, but there
      will be no intervention by the Court. No continuance will be granted
      because of information acquired in post-deadline discovery.

5.    Dispositive Motions will be filed by: September 6, 2024
      Responses due by: October 7, 2024

6.    Non-Dispositive Motions will be filed by: September 6, 2024

********************** The Court will provide these dates. ***********************

7.    Joint pretrial order is due:
      The plaintiff is responsible for filing the pretrial order on time.

8.    Final Pretrial Conference is set for 1:30 PM on:

9.    Trial is set for 9:00 AM on:
      The case will remain on standby until tried.
